                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )      No. 23-03001-01-CR-S-MDH
                                                    )
GEVONI RAYON BROWN,                                 )
                                                    )
                          Defendant.                )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One of the

Indictment filed on January 3, 2023, and Defendant’s admittance of Forfeiture Allegation, are now

Accepted. The Defendant is Adjudged Guilty of such offense.          Sentencing will be set by

subsequent Order of the Court.



                                                         s/Douglas Harpool
                                                          DOUGLAS HARPOOL
                                                    UNITED STATES DISTRICT JUDGE




Date: October 6, 2023




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